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           Thomas Eugene Creech v. Idaho Commission of Pardons and Parole, et al.
                                                      Case No. 1:24-cv-00066-AKB
                                  Filed in Support of Motion to Expedite Discovery




                   EXHIBIT 3
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   PRESS RELEASES
   JAN 29 2024
                                                                                 FOR IMMEDIATE RELEASE

      Date:                 Jan. 29, 2024


      Contact:              Emily Lowe
                            Public Information Officer
                            208-287-7700

      RE:                   State v. Decision on Thomas Creech’s commutation hearing




   BOISE – We first want to acknowledge the many people involved in the preparation of Thomas Eugene
   Creech’s commutation hearing.

   We are grateful for the time Mr. David Jensen’s family took to attend Mr. Creech’s commutation hearing, and
   for making their thoughtful victim impact statements. Thank you to all the other victims of Mr. Creech’s we
   spoke to during the preparation of this hearing. We understand it is not easy to relive these experiences from
   decades ago.

   We are particularly appreciative of our own Investigator Wade Spain, as he was instrumental in providing
   San Bernardino County with evidence that led to San Bernardino County announcing Mr. Creech as the
   suspect in the 49-year-old cold case murder of Daniel Walker.

   We thank the team who spent hours and hours preparing for this hearing, and represented Mr. Creech’s
   lengthy criminal history accurately. A special thanks to Deputy Prosecutor Jill Longhurst and Special Deputy
   Prosecutor Roger Bourne for their hard work.

   Mr. Creech is a convicted serial killer. He has been convicted of five murders, including three in Idaho, one in
   California, and one in Oregon. In 1981, the state sought the death penalty against Mr. Creech for the firstdegree
   murder of Mr. Jensen.

   Seeking the death penalty is not an easy decision or process. We continue to standby the decision to seek the
   death penalty in this case. We particularly agree with the following statement from the Commission of
   Pardons and Parole in their written decision issued today: “If the Commission cannot uphold the death
   penalty in this case, then the death penalty means nothing in the state of Idaho.”

   We again thank the Idaho Commission of Pardons and Parole for their time and attention during this hearing.

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   JAN 19 2024

   Ada County Prosecutor’s Office statement following Thomas Creech’s commutation hearing
   (https://adacounty.id.gov/prosecutor/press-releases/ada-county-prosecutors-office-statement-following-thomas-
   creechs-commutation-hearing/)
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   Boise man sentenced to prison for threatening police officer with a knife
   (https://adacounty.id.gov/prosecutor/press-releases/boise-man-sentenced-to-prison-for-threatening-police-officer-
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   Boise man sentenced to life imprisonment for 2018 knife attack on 74-year-old man
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